Case 2:23-cv-01691-WSH Document 1 RIE Peggy a 29

Summons [SSUED

UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
PENNSYLVANIA

wo. 23-CV~ Ilo 4 |
MICHAEL BARONE
STEFAN PETTY
CHRISTINE GOODWIN
DEAN DAWSON
DAVID ONYSHKO VERIFIED COMPLAINT FOR

DAMAGES
PLAINTIFFS, TITLE VI OF THE CIVIL RIGHTS
ACT OF 1964
42 U.S.C. SECTION 1983, 1985
VS. COMPENSATORY RELIEF

DECLARATORY RELIEF
ALLEGHENY COUNTY
RICH FITZGERALD
LAURA ZASPEL _
LAURA WILLIAMS
STEPHEN PILARSKI TRIAL BY JURY DEMANDED
BLYTHE TOMA
NICHOLE NAGEL
JEREMY BEAVER F i i E D
DEBRA BOGEN

SEP 25 2023
DOES 1-50 CLERK U.S. DISTRICT COURT
WEST. DIST. OF PENNSYLVANIA
DEFENDANTS,
INTRODUCTION
1. After consulting and collecting data for several months, Allegheny County, created an

unprecedented mandate that required absolute compliance concerning their new policy.

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2. No official in Allegheny County council or other County leadership publicly opposed
the mandates openly on record but supported the coercion, intimidation, and disparagement
inflicted on plaintiffs and many others who would not violate their own conscience.

3, PLAINTIFFS were notified by mail, in person, and through press releases that all
People employed by COUNTY would be required to take a “vaccination” injection that was
non approved by the FDA under normal standards or face termination of employment.

4. Leadership of ALLEGHENY COUNTY in creating their December 1, 2021,”
vaccinate or terminate” policy was well aware that COVID-19 injection did not prevent the
infection or spread of the virus, This was known by October 2021 at minimum before the
prejudicial terminations of employment began in December 2021.

5. In addition to implementing mandatory injection of an experimental, emergency
approved only “vaccination”, Allegheny County was violating FEDERAL STATUTE 21 USC
360 bbb, which clearly states injections are voluntary and can be refused, COUNTY did violate
also clearly established law pursuant to the lst and 14th amendments of the United States
Constitution by denying religious exemptions across-the-board, as well as the majority of
medical exemptions. Also, equal protection under the law violations were unconscionable and
discriminatory. (see exhibit A, NOSBISH RTK)

6. Further COUNTY did knowingly violate TITLE VII of the Civil Rights Act Of 1964
with their sham law process claiming that the law would be followed, (see exhibit B)
subsequently all communications by PLAINTIFFS to appeal for approval of their exemptions
and medical documentation were denied.

7. COUNTY distinctly created two classes of employees and people differentiated by

vaccination status and bonus incentives.

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8. Pennsylvania lifted the state of emergency declaration in June of 2021, yet
ALLEGHENY COUNTY, RICH FITZGERALD, and DEFENDANTS continued with their
personal agenda, implementing their constitutionally defective policy, causing infringement of
guaranteed rights, including multiple torts against PLAINTIFFS.

9. During the hearings asserted by PLAINTIFFS union, ACPEIU before the labor
relations board against ALLEGHENY COUNTY, PLAINTIFF’S Union attorney, Ronald
Retsch, conducted depositions and obtained testimony of the involvement of COUNTY actors
and their participation of said infringements and overreach.

10. The Union for the correctional officers of Allegheny County Jail surprisingly have
and were unable to mitigate officers’ jobs concerning ALLEGHENY COUNTY’S direct
infringements.

11. Therefore, PLAINTIFFS bring this action under 42 USC Section 1983, 1985 against
COUNTY Officials, DEFENDANTS, and other actors who knowingly and willfully, colluded
and conspired with ALLEGHENY COUNTY in the deprivation of Rights of PLAINTIFFS

under color of law.

JURISDICTIONAL STATEMENT

12. U.S. Constitution, Federal Question pursuant to TITLE 42 USC sections 1983 and

1985.
42. USC section 2000e Title VII of the Civil Rights Act of 1964. Title 28 U.S.C. Section
1331, Section 1343 2201-02.
1Supplemental jurisdiction exists with this court under the provisions of Title 28 U.S.C.

Section 1367(a).

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13. Locational jurisdiction and Venue are valid. Events in this action occurred in
ALLEGHENY COUNTY pursuant to 28 U.S.C. Section 1391(b).

PARTIES OF THE CASE

14. PLAINTIFF, MICHAEL BARONE, hereinafter referred to as BARONE, is an
individual and a Natural person, one of the People of the Commonwealth of Pennsylvania
and was a former employee of ALLEGHENY COUNTY of over years, at all times relevant.
15. PLAINTIFF, STEFAN PETTY, hereinafter referred to as PETTY, is an individual
and a Natural person, one of the People of the Commonwealth of Pennsylvania, is a former
employee of ALLEGHENY COUNTY of 15 years at all times relevant.

16. PLAINTIFF, CHRISTINE GOODWIN, formerly Christine Mowry, hereinafter
referred to as GOODWIN, is an individual and a Natural person, one of the People of the
Commonwealth of Pennsylvania. GOODWIN was a former employee of ALLEGHENY
COUNTY of over 14 years at all times relevant.

17. PLAINTIFF, DEAN DAWSON, hereinafter referred to as DAWSON, is an
individual and a Natural person, one of the People of the Commonwealth of Pennsylvania,
but now resides in Florida, and was a former employee of ALLEGHENY COUNTY of 6
years at all times relevant.

18. PLAINTIFF, DAVID ONYSHKO, hereinafter referred to as ONYSHKO, is an
individual and a Natural person, one of the People of the Commonwealth of Pennsylvania,
and was a former employee of ALLEGHENY COUNTY of over 13 years, at all times
relevant.

19. DEFENDANT, ALLEGHENY COUNTY, hereinafter referred to as COUNTY, and

is a political subdivision of Pennsylvania. COUNTY is being sued as a person.

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20. DEFENDANT, RICH FITZGERALD, hereinafter referred to as FITZGERALD, and
is an executive officer of COUNTY. FITZGERALD was elected by the public and swore an
oath to support both state and federal Constitutions. FITZGERALD is rewarded,
compensated and enriched by COUNTY and is being sued both in his official job capacity,
and in his private capacity.

21. DEFENDANT, LAURA ZASPEL, hereinafter referred to as ZASPEL, and is a
human resources director for ALLEGHENY COUNTY. ZASPEL is rewarded, compensated
and enriched by COUNTY and is being sued both in her official job capacity, and in her
private capacity.

22, DEFENDANT, LAURA WILLIAMS, hereinafter referred to as WILLIAMS, and is a
former chief deputy warden of health services for ALLEGHENY COUNTY JAIL.
WILLIAMS was rewarded, compensated and enriched by COUNTY and is being sued both
in her official job capacity, and in her private capacity.

23. DEFENDANT, STEPHEN PILARSKI, hereinafter referred to as PILARSKI, and is a
senior deputy county manager for ALLEGHENY COUNTY. PILARSKI is rewarded,
compensated, and enriched by COUNTY and is being sued both in his official job capacity,
and in his private capacity.

24. DEFENDANT NICOLE NAGLE, hereinafter referred to as NAGLE, and is an
employee relations manager for ALLEGHENY COUNTY. NAGLE is rewarded,
compensated, and enriched by COUNTY and is being sued both in her official job capacity,
and in her private capacity.

25. DEFENDANT JEREMY BEAVER, hereinafter referred to as BEAVER, is a former
employee relations coordinator for ALLEGHENY COUNTY. BEAVER was rewarded,

compensated, and enriched by COUNTY, and is being sued both in his official job capacity,

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and in his private capacity.

26. DEFENDANT BLYTHE TOMA, herein after referred to as TOMA, is an employee
of COUNTY. TOMA is rewarded, compensated, and enriched by COUNTY, TOMA is being
sued in both official and private capacities.

27. DEFENDANT DEBRA BOGEN, herein after referred to as BOGEN, was the senior
health director for COUNTY. BOGEN was rewarded, compensated, and enriched by

COUNTY and is being sued both in her official job capacity, and in her private capacity.

FACTUAL STATEMENT

28. OnAugust 6, 2021, PLAINTIFFS were sent a notice stating “effective Monday, August
9, 2021 all the Allegheny County employees must get a COVID-19 vaccination or be subjected
to a mask requirement and regular COVID-19 testing. (see exhibit C)

29. ‘This was the commencement of the COUNTY’S unconstitutional policy with
mandatory terms and conditions that created two classes of people in the workplace.

30. These classes of people were not given equal treatment, benefits, and protections by
DEFENDANTS but segregated the PLAINTIFFS prejudicially.

31. The PLAINTIFFS, who were placed in a disadvantaged category, had 80 hours of
paid leave and $100 incentives unjustly withheld due to their refusal to undergo the
experimental vaccination, while entitled employees who agreed to the procedure received
these benefits. This disparate treatment marked the beginning of a pattern of bias and severe
emotional distress inflicted upon the PLAINTIFFS.

32, PLAINTIFFS who had worked through the flu season un-injected and relying on
natural immunity were referred to as “front line workers” before the COUNTY’S unlawful

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mandate was implemented requiring injections. This demonstrated the outstanding
commitment of PLAINTIFFS as loyal employees.

33. When the COUNTY mandates were unfairly enforced, ALL PLAINTIFFS were
subjected to intrusive questioning and were asked personal medical inquiries upon entering
the workplace, violating their Right to privacy and failing to provide discrete and appropriate
accommodations.

34. This was just part of the ongoing disparagement suffered by PLAINTIFFS.

35. Moreover, PLAINTIFF ONYSHKO was tested for COVID 19 under fear of threat
also in void of privacy.

36. | DEFENDANTS FITZGERALD, WILLAIMS, PILARSKI, ZASPEL, NAGEL,
BEAVER, TOMA, BOGEN, William McKain and other COUNTY upper management spent
several months meeting, consulting and creating a new policy and procedures approximately
between December 2020 to August 2021.

37. Some of the consulting was done with BOGEN, who was the head of the COUNTY
Health Department, with an annual budget that is over $1 BILLION. BOGEN who has
practiced medicine approximately 20 years was entrusted in her emolument to provide
reasonable competent unbiased services in her obligated duty to COUNTY actively deprived
PLAINTIFFS Rights.

38. Furthermore, as a pediatrician BOGEN is well acquainted with the administration of
the multitude of vaccinations and was reasonably aware that the COVID-19 injection did not
provide natural immunity but was indeed an emergency gene therapy medical treatment
injection. This was unconscionable.

39. _—‘ This vital fact was not disclosed to the PLAINTIFFS nor the public but was

misinformation, disinformation, and intentional propaganda.

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40. With the enormous budget of COUNTY health department and having tens of
millions of COVID relief dollars available, it is unconscionable to ignore the related data
known by COUNTY that the injection did not stop the transmission or the reception of
COVID 19. Also ignoring the responsibility and duty of care to follow emergency authorized
use of biological injections in pursuant to Statutes, Acts, and prescribed laws thereof.

41. | COUNTY Employees and other individuals who took the first available injections
contracted COVID 19 well before the Dec 1% 2021 deadline of “vaccinate or terminate”.

42. COUNTY has referenced CDC data multiple times previous to their policy, protocol!
and guidance, concerning the creation of COUNTY’S mandates pertaining to COVID 19.

43. | CDC, through their director has conceded that the injections do not prevent infection
or transmission of COVID-19, and that the injected and non-injected are equally likely to
spread the virus.(August 4, 2021 “fully vaccinated people who get COVID 19 breakthrough
infection can transmit the virus” Dr..Rochelle Walensky. CNN - M. Holcombe.).

44.‘ Further, COUNTY’S agenda of unlawful unprecedented actions superseded their duty
of care, foreseeable errors, and deliberate reckless indifference to join the propagandized
concealment of the contents of the injection which in any terms was NOT a VACCINE.

45. IJnevery communication from COUNTY and FITZGERALD, the terms “Vaccine”
and “vaccination”, referring to the emergency authorized injection, is a messenger RNA gene
therapy treatment. The CDC much later attempted to change the definition of “vaccination”
without legislative participation well after PLAINTIFFS were injured and misrepresentations
were made.

46. All of the COUNTY’S printed documents, orders, and guidance concealed the fact
that the alleged “vaccine” was indeed an M-RNA injection that does not confer immunity but

claims to reduce the severity of symptoms therefore it is a treatment and not a vaccine.

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47. The fact that COUNTY made blatantly false claims concerning “COVID 19 vaccine”,
being that the injection was not indeed a vaccine, THEY also did not provide informed
consent concerning accurate facts required by federal statute 21 USC 360 bbb and section
564 of the Food Drug Cosmetic Act. COUNTY also provided erroneous propaganda to

PLAINTIFFS to further coax their participation.

48. On a document provided by COUNTY concerning the “covid -19 vaccine”,
COUNTY used the word and variations of the word VACCINE 24 times. This document was
titled ALLEGHENY COUNTY COVID-19 VACCINE Myth vs fact, with COUNTY logo on

the letterhead. {see exhibit D, COVID Fact or Myth)

49. This document was fraudulent and full of intentional misrepresentation concerning

the medical treatment COUNTY was requiring concerning their policy and employment.

50. Moreover, PLAINTIFFS claim that COUNTY acted in bad faith with said document
using misleading phrases, misinformation, and propaganda.

51. PLAINTIFFS BARONE and GOODWIN provided evidence about their natural
immunity, despite the fact that the covid 19 injections do not provide immunity and were
subsequently terminated from employment.

52. Concerning the actions of FITZGERALD who individually swore and subscribed an
OATH of OFFICE to support and defend both COMMONWEALTH and FEDERAL

Constitutions has violated secured Rights of PLAINTIFFS in the following manner:

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a) Acted ultra vires in his scope and jurisdiction concerning his orders and policies
which were void of ALLEGHENY COUNTY’S council legislative participation.
Nowhere in ALLEGHENY COUNTY home rule charter, does it give authority to
FITZGERALD to create his own policy.

b) Acted with intentional negligence by violating PLAINTIFFS procedural and
substantive DUE PROCESS protections enforcing the afore mentioned mandate.

c) Intentionally causing economic hardship and emotional distress by his purging

of PLAINTIFFS employment and presence from the workplace due to personal views

and extreme prejudice terminating PLAINTIFFS employment.

d) Created divisive perception within the workplace.

e) Violated the public trust by the perjuring of FITZGERALD’S sworn and

subscribed oath of office.

f) Taunted, defamed, and cast false light on PLAINTIFFS choices through his press

conferences and public bias statements demonizing and demoralizing all non-injected

People, employees, and PLAINTIFFS such as “folks who are not vaccinated are going

to be isolated from society”.

53. All DEFENDANTS were responsible for applying and enforcing NON approved
policy changes. Including mandatory injection of COVID-19 emergency authorized medical
treatment, re-classification of employees, unequal pay incentives, invasion of privacy,
inflicting emotional distress, and termination of plaintiffs' employment.

54. All PLAINTIFFS submitted religious declarations/exemptions, which were unjustly
denied through direct communication by ZASPEL, NAGEL, BEAVER, WILLIAMS, and

TOMA, who collaborated with COUNTY officials in a conspiracy to terminate employment

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and interfere with the PLAINTIFFS' rights, thereby depriving them of their rightful
protections.

55. BARONE, PETTY, GOODWIN, DAWSON and ON YSHKO state their claim that all
DEFENDANTS acted with retaliatory animus and deliberate indifference towards
PLAINTIFFS’ beliefs of being un-injected and prejudiced against PLAINTIFFS personal
religious, health convictions, and Rights, by their coordinated efforts to unlawfully terminate
PLAINTIFFS in addition to continued coaxing, intimidation, and discriminatory treatment by
all DEFENDANTS.

56. The COUNTY implemented their new policy to remediate the health emergency
under the guise of “safety”. However, at the same time, neglected a multitude of issues that
ignored safely protecting the Allegheny County jail employees and inmates.

57. | DEFENDANTS are Correctional officers and are aware of hazardous conditions that
exist with the daily duties on the job, and it is the COUNTY’S obligation and duty to prevent
foreseeable neglect that would negate basic safety requirements pertaining to protecting all
individuals in the jail.

58. | Inmates who would not consent to be injected were also in close proximity to
DEFENDANTS before, during and after the COVID 19 event. COUNTY policy creates
unrealistic and unscientifically proven methods to contain and prevent the transmission of
COVID-19, thus enforced mandated injections for safety are unreasonable and
unconscionable.

59. Further, COUNTY hired poll workers for County held elections and did not require

compliance to the same mandate forced upon plaintiffs negating COUNTY’S policy.

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60. Safety issues, having been previously raised at the jail by PLAINTIFF BARONE,
such as chronic understaffing of nurses and guards, lack of medical staff for inmates, and
lack of overall training, as well as facility infostructure.

61. All PLAINTIFFS have deeply held religious beliefs that prevented them to be subject
to defilement by being injected with haman DNA which is contained in the aborted fetal
lines (HEK-293 and PER C6) within all available options in the mandate.

62. ALL PLAINTIFFS share the belief that every creation of GOD has the right of life,
even before birth, JEREMIAH 1:5 declares “Before I formed thee in the belly, I knew thee;”
KJV.

63. Further PLAINTIFFS believe abortion is a violation of EXODUS 20:13 “Thou shalt
not kill” KJV. The fetal lines in the injection originate from aborted human life; moreover,
PLAINTIFFS believe they will defile their temple(body)by the injection also.

64. PLAINTIFFS submitted their religious exemption and accommodation requests in
good faith but subsequently were denied by COUNTY actors and DEFENDANTS by sham
law hearings and premeditated denials.

65. COUNTY and DEFENDANTS gave an illusion of due process (Loudermill hearings)
concerning religious exemptions but never accessed a religious expert to validate or verify
the said deeply held religious beliefs of all PLAINTIFFS nor were medical experts consulted
about natural immunity evidence submitted by GOODWIN and BARONE.

66. Furthermore, there was no appeal process available to challenge COUNTY’S
predetermined denials.

67. During December of 2021- March 2022 all PLAINTIFFS received a disqualification

letter stating that because of the PLAINTIFFS’ “noncompliance,” the PLAINTIFFS have

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‘ disqualified” themselves. Further stating that as a result, “the [Health] Department has
decided to terminate your employment.” (see exhibit E)
68. The commonwealth Constitution declares in article 1 section 4 Religion ;
“No person who acknowledges the being of a God, in a future state of rewards and
punishments shall, on a count of his religious sentiments, be disqualified to hold any office or
place of trust or profit under this commonwealth.”
69. Finally, COUNTY, FITZGERALD, Allegheny Health Department, nor anyone else
in the country has borne the burden of proof, scientifically or medically, proving that these
injections stopped the infection and transmission of the COVID-19 virus. Also, as the data
rolls in, this said injection has caused a multitude of serious health problems.
70. Furthermore, many people have irreversible side effects, injuries, including blood
clots, myocarditis. Pericarditis, heart attacks, or even death, therefore, the ‘‘cure” has become
worse than the virus.
71. Therefore, PLAINTIFFS were forced to choose between defiling their body and to
put their future health at risk, or deny their conscience and obey unlawful mandates.
72. In conclusion, the terms of PLAINTIFFS employment were never predicated on
taking a medical treatment and COUNTY’S mandate was void ab initio at its inception.
COUNTY leadership failed in instructing and training of employees concerning unlawful and
illegal activities such as terminating PLAINTIFFS employment for failure to get a COVID-
19 injection, creating segregation, intentional misrepresentation, and invasion of medical
privacy. COUNTY’S policy is a direct link to the deprivation of secured constitutional
protections. PLAINTIFFS claim that DEFENDANTS acted with retaliatory animus because
the DEFENDANTS required PLAINTIFFS to get the injection to maintain equal protections

and keep their employment.

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73. Finally, Federal question #1 to be asked is; Does not PLAINTIFFs have secured and
protected Rights as People as well as being employees? Plaintiffs would declare, YES, they
do.

74, Federal question # 2 would be, does not FITZGERALD’S Oath of Office encompass
a sworn and subscribed duty of care to uphold, protect, and defend PLAINTIFFS Rights
pursuant to Federal and State Constitutions? Plaintiffs would declare YES, he does.

75. Federal question # 3, does not PLAINTIFFS Rights exist in both as status of
employees of Allegheny County and also status of People of the Commonwealth of
Pennsylvania? PLAINTIFFS would declare YES, both apply, and FITZGERALD is
obligated by his indicia of office to protect those rights.

76. ERGO, Scire et scire debere aequiparantur in jure, To know a thing, and to be

bound to know it, are regarded in Law are equivalent.

CLAIMS

CLAIM I

18T AMENDMENT 42 USC 1983
77. PLAINTIFFS re-allege paragraphs 1-76 as though set forth fully herein. All
PLAINTIFFS state the claims that all DEFENDANTS, infringed upon all PLAINTIFFS
constitutionally secured First Amendment Right of free exercise of Religion, specifically the
“free exercise clause” by denying all PLAINTIFFS religious exemptions and medical

documents while acting under color of authority.

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PLAINTIFFS had a secure Right to exercise their religious beliefs in which PLAINTIFFS
deeply held religious practices were well documented and also clearly articulated and
defended in COUNTY’S sham law (Loudermill) hearings.
78. ALL PLAINTIFFS were told in a formal notice sent by COUNTY and
DEFENDANTS that COUNTY would follow the “LAW” concerning the exercise of
PLAINTIFFS religion but were directly denied without the scrutiny of an expert in the field
of religious practices.
79, PLAINTIFFS were deprived the free exercise of their religion by exemption denials
at the hands of the COUNTY and DEFENDANTS.
80. DEFENDANTS had a reasonable duty of care to not violate clearly established law
by depriving PLAINTIFFS free exercise of religion. Even congress declared “SHALL
MAKE NO LAW PROHIBITING” the free exercise of religion (1‘t Amendment, Article 1
section 4 of the Constitution of the Commonwealth of Pennsylvania.
81. The words SHALL and PROHIBITING are mandatory language in which
FITZGERALD, COUNTY, and DEFENDANTS are required to strictly adhere to.
FITZGERALD unlawfully created and acted under color of law, Defendants willfully and
knowingly participated.
82. ALL PLAINTIFF’S had a right to not be punished over religious conviction.
83. COUNTY policy is a direct link to this deprivation and all DEFENDANTS are the
proximate cause of injury.
CLAIM I
Violation of Fourteenth Amendment 42 USC Section 1983
EQUAL PROTECTIONS CLAUSE
84. PLAINTIFFS re-allege paragraphs 1-83 as though fully set forth herein. ALL

PLAINTIFFS state the claims that COUNTY and ALL DEFENDANTS acted under color of
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law and color of authority to implement and enforce unlawful policy, practices and

procedures that prejudicially and segregatively created two classes of people.

85. preferred class of people were the employees who consented to the injection of the

COVID-19 treatment, and the second class (PLAINTIFFS) were denied equal treatment,

economically, beneficially, and socially.

86. The favored class received a financial award, 80 hours of paid leave and kept their

preferential status in the workplace.

87. The second class, including all PLAINTIFFS, were demonized and denied the above

benefits of the first class. These” second class citizens” had their employment terminated.

COUNTY and DEFENDANTS interfered with PLAINTIFFS' rights to fair and equal

treatment concerning qualifications and workplace participation.

88. All defendants participated individually and collectively denying equal protections
Under the law pursuant to the 14th amendment of the United States Constitution at
minimum. All PLAINTIFFS had a right not to be treated this way and all DEFENDANTS

are the proximate cause of injury in this claim.

CLAIM II

1478 AMENDMENT 42 USC 1983 SUBSTANTIVE DUE PROCESS

89. PLAINTIFFS re-allege paragraphs 1-88 and fully set forth herein, All PLAINTIFFS
state the claim that there are substantive due process rights denied by all DEFENDANTS.
90. PLAINTIFFS have a right to participate in the workplace without being barred from

doing so by arbitrary, capricious and unfair standards placed upon them.

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91. County and defendants interfered with PLAINTIFFS Rights to fair and equal
treatment concerning qualifications and processes to participate in the workplace.

92. All defendants willingly and knowingly denied substantive rights of all PLAINTIFFS
and pre meditatively participated in depriving fair treatment to PLAINTIFFS concerning
their right to due process.

93. This was done so by DEFENDANTS who met in team meetings and agreed to
collude against PLAINTIFFS collectively.

94, PLAINTIFFS had a right not to be denied substantive due process pursuant to the

14™ Amendment and all DEFENDANTS are the proximate cause of injury in this claim.

CLAIM. IV.

147! AMENDMENT 42 USC 1983 PROCEDURAL DUE PROCESS

95. PLAINTIFFS re-allege paragraphs 1-94 and fully set forth herein. All PLAINTIFFS
state the claim that all DEFENDANTS individually and collectively deprived PLAINTIFFS
of procedural due process of religious exemptions and medical documentation.

96. All DEFENDANTS concealed without transparency, the decision-making process
from obtaining the religious exemptions of PLAINTIFFS.

97. This process was done so without consulting with experts in the fields concerning
religious practices.

98. This process did not provide an appeal process and was completely arbitrarily
subjected solely to the discretion of the DEFENDANTS, who denied every religious

exemption that was applied for.

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99, COUNTY and DEFENDANTS created a charade of due process, but only in
appearance at their Loudermill hearings and interactive exchanges with PLAINTIFFS.
160. All PLAINTIFFS had a right to not be deprived of procedural due process, and all

DEFENDANTS are the proximate cause of injury in this claim.

CLAIM V
Violation of 21 USC section 360 bbb —
FOOD and DRUG COSMETIC ACT 564

21 USC 360bbb: Expanded access to unapproved therapies and diagnostics

101. PLAINTIFFS re-allege paragraphs 1-100 and set forth fully herein.

102. PLAINTIFFS state the claim that COUNTY violated 21 USC Section 360 bbb
FDCA SECTION 564 (e) (1) (A) Gi) (iii), in which PLAINTIFFS refused the emergency
authorized medical injection that COUNTY mandated for the changing of the terms of
PLAINTIFFS employment.

103. Section 564 of the Food, Drug, and Cosmetic Act (“FDCA”), 21 U.S.C. sections
360bbb-3,1 authorizes the Food and Drug Administration to put forth an emergency use
authorization for a medical treatment in certain emergency situations. This permits the
treatment materials to be given even if FDA has not approved the product.

104. FDA is directed by Section 564 “to the extent practicable” given the emergency
circumstances and as the agency finds necessary or appropriate to protect the public health to
impose appropriate conditions on each emergency use authorization. FDCA section
564(e)(1)(A). conditions are created to verify that recipients of the product “are informed” of
certain things, including “the option to accept or refuse administration of the product.”

564(e)(1)(A) GID.

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105. COUNTY did not disclose required information to PLAINTIFFS, pursuant to all the
afore-mentioned facts and unlawfully terminated employment when PLAINTIFFS acted
within the law.

106. Furthermore, COUNTY received Block Grant in the form of a federal award, which
requires internal controls, specifically 2 CFR 200.303, which prohibits violations to
constitutional provisions, prejudicial treatment and federal statutes such as 21 USC 360 bbb.
107. COUNTY has a duty of care in the use of all federal monies, especially when funds
that are awarded to mitigate the emergency health risks claimed by FITZGERALD and
COUNTY.

108. COUNTY is obligated to conform to federal statutes free of prejudice and in

constitutional alignment. COUNTY, FITZGERALD, and DOES are the proximate cause of

injury.

CLAIM VI

Intentional Inflectional Emotional Distress

109, PLAINTIFFS re-allege paragraphs 1-108 and set forth fully herein. All
DEFENDANTS knowingly and intentionally with foreseeable intent conspired to unlawfully
cause PLAINTIFFS to lose their employment, benefits, emotional security, and self-worth
because PLAINTIFFS refused an experimental injection that falsely was deemed a vaccine.
PLAINTIFFS had several rights to refuse to do so.

110. PLAINTIFFS were subjected to be treated like second class employees and citizens
because COUNTY policy enabled DEFENDANTS and actors who with animus did ridicule

them. Also, verbal abuse with contempt caused emotional distress that PLAINTIFFS endure

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to this day, The totality of the distress has caused insomnia and unnecessary stress, due to the
lack of job security, income, and retirement.
111. These facts shocked the conscience of the PLAINTIFFS in addition to the depths of
their soul because PLAINTIFFS never would’ ve expected treatment that COUNTY and
DEFENDANTS have given them previously mentioned in the complaint.
112. PLAINTIFFS were forced to allow abusive behavior by COUNTY and
DEFENDANTS because of the exercise of their religion and freedom of conscience.
113. | PLAINTIFFS were deprived of health insurance, this caused additional emotional and
mental anguish.
114. COUNTY and DEFENDANTS, in addition to other actors, had a duty of care not to
inflict such emotional distress and other abuses against PLAINTIFFS. COUNTY and
DEFENDANTS are approximate cause of injury.

CLAIM VII
Violation of Article 1, Sec. 9 Clause 8, of the US CONSTITUTION,

EMOLUMENTS CLAUSE

115. PLAINTIFFS re-allege paragraphs 1-114. PLAINTIFFS assert the claim that
FITZGERALD, in his official capacity, used his office for unjust political advantage and
gain against PLAINTIFFS who refused his personal mandate, therefore violating his oath of
office to uphold constitutional provisions.

116. This personal and biased agenda coerced and bullied PLAINTIFFS into his personal

beliefs, depriving them of their own convictions.

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117. This violation of the public trust and conflict of interest gave FITZGERALD
unlawful leverage over PLAINTIFFS, resulting in injury. FITZGERALD is the proximate

cause of injury.

CLAIM. Vil
TITLE VII DISPARATE TREATMENT, RELIGIOUS DISCRIMINATION
42 USC 2000e et seq
118. ‘Plaintiffs re-allege paragraphs 1-117 and incorporate here in.
119, COUNTY, through DEFENDANTS, discriminated all PLAINTIFFS through their
segregation of financial incentives, and other restrictive treatments, such as restricting access
to the workplace, and intrusive interrogation concerning their personal matters. This violates
42 USC 2000(a)(1)(2)
120. These actions were taken by DEFENDANTS, because of PLAINTIFFS deeply held
religious practices pertaining to the defilement of their temple (BODY.)
121. Because PLAINTIFFS did not take an experimental injection, which contain aborted
fetal tissues, which are prohibited in PLAINTIFFS religious practices, PLAINTIFFS were
treated like second class employees, segregated and terminated because of religion, which is
prohibited under title VII of the civil rights act of 1964.
122. ALL PLAINTIFFS were denied religious exemptions, as well as many other
employees of COUNTY.
123. COUNTY did provide an administrative hearing, but used sham law procedures that
gave the appearance of due process but was void of any expert input and eventually denied

all of the religious exemptions out of the false guise of safety.

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124. County was obligated to give PLAINTIFFS reasonable accommodation, but claimed
undue hardship without any relevant scientific or medical data that could reach that
conclusion.

125. COUNTY implemented a political agenda through FITZGERALD and other
DEFENDANTS who showed extreme prejudice against PLAINTIFFS religious Rights and
worked in concert together to terminate all PLAINTIFFS employment violating TITLE VII
of a civil rights act of 1964 and 42 USC sec 2000(e) (j)

126. COUNTY and FITZGERALD are the proximate cause of injury.

CLAIM IX

INTENTIONAL MISREPRESENTATION

127. PLAINTIFFS re-allege previous paragraphs 1-126 and fully incorporate herein.

128. PLAINTIFFS make the claim that COUNTY and upper management DEFENDANTS
intentionally misrepresented the following facts. COUNTY openly makes the claim that they
are equal opportunity employers. This is a false claim.

129. COUNTY and DEFENDANTS openly showed and acted with disparity toward and
directly against all PLAINTIFFS with all the previous incorporated facts.

130. COUNTY and Allegheny County Health department actors did intentionally conceal
and also failed to disclose the fact that the COVID 19 injection was not a vaccine,
vaccination, or any other medical process that provided immunity to PLAINTIFFS or to

anyone else.

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131. COUNTY’S “MYTH vs. FACTS” used 24 variations of the word vaccine with the
intent to conceal the fact that COUNTY’S mandated injection was an unapproved
experimental! medical procedure. This reckless indifference was done with the explicit intent
to obscure the actual nature of COUNTY’S mandated injection.

132. COUNTY’S intent was to induce the plaintiff's reliance on these false claims, in
addition to bullying compliance with said false claims.

133, PLAINTIFFS had a reasonable right to not be subjected to such dishonorable
treatment that used fraudulent misrepresentations and systematically and methodically
weaponized it against plaintiff's beliefs and Rights.

134. COUNTY and actors within the Allegheny County Health Department knowingly
concealed and purposefully failed to disclose a pivotal fact: that the administered COVID-19
injection did not meet the criteria of a vaccine, vaccination, or any medical process providing
immunity to PLAINTIFFS or any other recipients.

135. Itis apparent that COUNTY’s primary objective was to induce reliance on these false
claims and to coerce compliance with these misleading assertions through intimidation and
pressure.

136. These actions inflicted upon PLAINTIFFS an extraordinary degree of anxiety and
emotional distress, as they were systematically subjected to a campaign of misinformation
and manipulation, culminating in the foreseeable threat to their long-standing job security.
137. PLAINTIFFS possessed a well-founded expectation not to endure such dishonorable
treatment that relied on fraudulent misrepresentations, systematically and calculatedly
weaponizing these falsehoods against PLAINTIFFS’ deeply held beliefs and their

fundamental rights.

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138. In this regard, COUNTY, BOGEN, PILARSKI and FITZGERALD emerge as the

proximate cause of the injury sustained by PLAINTIFFS.

CLAIM X

TORTIOUS INTERFERENCE OF CONTRACT

139. PLAINTIFFS re-allege paragraphs 1-138 and fully incorporate herein. PLAINTIFFS
make the claim that there exists a contract of employment between Allegheny County and
PLAINTIFFS.

140. PLAINTIFFS union were unable to mitigate plaintiffs’ rights, in whom have a
common law right to redress their own grievances.

141. COUNTY did not require any types of “vaccination status” in any written or oral
agreement prior to PLAINTIFFS contract.

142. COUNTY changed the terms of the contract with PLAINTIFFS without reasonable
negotiations, equal consideration, or reciprocity.

143. FITZGERALD acted ultra vires changing the terms of said contract through unlawful
mandate causing premature and unlawful termination of contract and injury to PLAINTIFFS.
144. COUNTY officials and all DEFENDANTS worked independently and jointly to
unreasonably and willfully interfere and usurped plaintiffs’ contracts. This caused disruption
and obstruction to PLAINTIFFS contract.

145. This was done premeditatively and discussed in COUNTY team meetings.

146. DEFENDANTS willingly, knowingly, and unlawfully interfered with PLAINTIFFS

contractual relationship with COUNTY all other previously incorporated allegations.

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147. PLAINTIFFS suffered financial harm due to the interference of contract by
DEFENDANTS individually and corporately using coercion, disparagement, intimidation,
and misrepresentation in the enforcement of a policy that was void ab initio from its
inception.

148. FITZGERALD , ZASPEL, PILARSKI, WILLIAMS, NAGLE, BEAVER, TOMA,

and BOGEN are the proximate cause of injury.

CLAIM XI

CONSPIRACY TO DEPRIVE RIGHTS

149. PLAINTIFFS re-allege paragraphs 1-148 and fully incorporate herein. All defendants
have violated 42, USC section 1985 (3), ... “ if one or more persons, engage there, and do, or
cause to be done, any act in the furtherance of the object of such conspiracy, whereby another
is injured in his personal property, or deprived of having an exercising any right or privilege
of a citizen of the United States, the party, so injured or deprive, may have an action for the
recovery of damages occasion by such injury, or deprivation against any one or more of the
conspirators.”

150. In accordance with all of the above-mentioned paragraphs within this complaint
demonstrate that all DEFENDANTS worked in concert together, acting under color of law to

deprive all PLAINTIFFS secured, protected and guaranteed constitutional rights.

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VERIFICATION

I, Michael Barone, have comprehended all paragraphs in the foregoing complaint and verify

the contents thereof to be true to my own knowledge in pursuant to 28 USC section 1746.

Michgél Barone

I, Stefan Petty, have comprehended all! paragraphs in the foregoing complaint and verify the

contents thereof to be true to my own knowledge in pursuant to 28 USC section 1746.

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I, Christine Goodwin, have comprehended all paragraphs in the foregoing complaint and

verify the contents thereof to be true to my own knowledge in pursuant to 28 USC section

1746.

Wipatire, Yookuerr

Christine Goodwin

I, Dean Dawson, have comprehended all paragraphs in the foregoing complaint and
verify the contents thereof to be true to my own knowledge in pursuant to 28 USC section

1746.

ee
Dean Dawson

I, David Onyshko, have comprehended all paragraphs in the foregoing complaint and

verify the contents thereof to be true to my own knowledge in Pursuant to 28 USC section

BE

David Onyshko

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RELIEF SOUGHT
WHEREFORE, PLAINTIFFS SEEK RELIEF IN THE FORM OF:

A. Monetary relief against: DEFENDANTS, in the amount of $250,000 each for
constitutional violations infringing against each individual PLAINTIFF (see 18 USC 3571
(b)(3) )

B. Monetary relief against COUNTY in the amount of $500,000 for each constitutional
violations infringing against each individual PLAINTIFF (18 USC 3571(c)(3)
C. Monetary relief against DEFENDANTS for $200,000 for each tort injury against each
individual PLAINTIFF.
D. Monetary relief in the recovery of the amount of 2 years of annual salary for each
individual PLAINTIFF according to their latest pay scale.
E. Monetary relief of loss of future wages, benefits, and pensions, in the amount that the
Court deems appropriate.
F. Declaratory relief in the form of a court order citing Fitzgerald’s mandate was void ab
initio.
G. Declaratory relief in the form of a court order that prohibits COUNTY from implementing
mandatory vaccination of future employees.
H. The right to add attorneys for limited and full scope on this case.
I. The right to participate in alternative dispute resolution before adjudication.
J. The right to amend this complaint pursuant to Federal Rules of Civil Procedure.
K. Punitive damages awarded to PLAINTIFFS

L. Any further relief as the court deems appropriate.

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Dated 15th Suplombern, 2023.

Respectfully submitted,

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V

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